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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

RANDOLPH WILLIAMS III

               Plaintiff,                              CIV. NO. 2:19-CV-12841-GGG-DMD
                                                       Consolidated with:
       v.                                              CIV. NO. 2:19-CV-14234

ALEJANDRO MAYORKAS, SECRETARY,                         This Document Pertains to ALL CASES
DEPARTMENT OF HOMELAND
SECURITY

               Defendant.


                 PLAINTIFFS’ UNOPPOSED MOTION TO
   EXTEND PARTIES’ DEADLINE TO CONVENE SETTLEMENT CONFERENCE

       Pursuant to Fed. R. Civ. P. 16(b)(4), plaintiffs Randolph Williams, III and Jon Joyner

respectfully move the court, ex parte, to extend the parties’ deadline to convene a settlement

conference in both of their consolidated cases – Williams v. Mayorkas, No. 2:19-CV-12841 and

Joyner v. Mayorkas, No. 2:19-CV-14234 – through May 10, 2022.

       The Court’s pre-trial conference is set for April 28. Trial is set for May 23. Ordinarily,

the Court’s scheduling order would require the parties to mediate no later than April 14 (two weeks

before the pre-trial conference date). However, here, because of the scheduling and other reasons

described below, the parties essentially ask permission to mediate before the assigned Magistrate

Judge after the Court’s pre-trial conference but before the trial date.

       Good cause exists to grant the request. The parties previously attended a settlement

conference in the Williams case in December 2020 (see Doc. 62). The parties were unable to

resolve the matter and the Williams litigation continued. On October 14, 2021, this Court ordered

the Williams and Joyner cases be consolidated (see Doc. 95). As present, the Court’s most recent

scheduling order in the Joyner matter (entered prior to consolidation) now controls the remaining



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scheduling obligations in both cases (see Doc. 101). Per the Court’s current scheduling order, the

parties are required to attend a settlement conference before the assigned Magistrate Judge no later

than two weeks prior to the Court’s pre-trial conference, which is set for April 28.

       However, despite best efforts, the parties only completed discovery in the Joyner matter

on March 31, 2022 (still within the Court’s previously extended discovery period – see Doc. 108).

Plaintiff’s counsel contacted chambers for the assigned Magistrate Judge for available settlement

conference dates, but not all parties were available on any of the given days prior to the Court’s

pre-trial conference date. However, all parties and the Magistrate Judge are available on May 10,

2022, and the parties respectfully ask the Court to permit them to participate in their settlement

conference on May 10 (which is still 13 days prior to the trial date).

       WHEREFORE, plaintiffs Randolph Williams, III and Jon Joyner respectfully move the

Court, ex parte, to extend the parties’ deadline to convene a settlement conference in both cases,

2:19-CV-12841 and 2:19-CV-14234, through May 10, 2022.

                                              Respectfully submitted:

                                              /s/ Alec W. Szczechowski (LA Bar #38422)
                                              Kevin S. Vogeltanz, TA (Bar #32746)
                                              Alec W. Szczechowski (LA Bar #38422)
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                                              Attorneys for Randolph Williams, III & Jon Joyner

                             LOCAL RULE 5.4 CERTIFICATION

        Pursuant to Local Rule 5.4, no certificate of service is required for this motion because all
parties are electronic filers and will receive notice through the court’s electronic filing system.
                                              /s/ Alec W. Szczechowski


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                          CERTIFICATION OF NON-OBJECTION

        I certify that opposing counsel has been contacted in this matter and that no party objections
to this motion.

                                               /s/ Alec W. Szczechowski




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